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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JOHN DOE I, et al.,                                  )
                                                     )
               Plaintiffs,                           ) Civil Action No. 01-1357 (RCL/AK)
                                                     )
v.                                                   )
                                                     )
EXXON MOBIL CORPORATION, et al.,                     )
                                                     )
               Defendants.                           )
                                                     )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

        Having reached agreement to resolve all matters in controversy in the above-captioned

action, the parties, by and through their attorneys, in accordance with Fed. R. Civ. P.

41(a)(1)(A)(ii), hereby agree and stipulate as follows:

       1. The above-caption action be and hereby is voluntarily dismissed with prejudice; and

       2. That each party shall pay their own costs and attorney fees.

IT BE AND HEREBY IS SO STIPULATED:

May 15, 2023


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